    Case: 1:15-cv-05793 Document #: 13-1 Filed: 01/06/16 Page 1 of 2 PageID #:45




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


FEDERICO CANSINO, on behalf of himself, )
and all other plaintiffs similarly situated, )
known and unknown,                           )
                                             )
             Plaintiff,                      )     Case No. 15 C 5793
                                             )
       v.                                    )     Judge Marvin E. Aspen
                                             )
MILIEU DESIGN, LLC and MILIEU )                    Magistrate Judge Maria Valdez
GROUP, INC., and PETER WODARZ and )
BRIAN FRANK, individually,                   )
                                             )
             Defendants.                     )

                                    NOTICE OF FILING

       TO:    Matthew P. Kellam, Antonio Caldarone, Laner Muchin, Chicago, IL

        PLEASE TAKE NOTICE that on Wednesday, January 6, 2016, I shall cause to be filed
with the Clerk of the United States District Court located at the Everett Dirksen Building, 219
South Dearborn, Chicago, Illinois, the Plaintiff’s Response to Defendants’ Motion for Approval
of Settlement Agreement, a copy of which is hereby served to you.


                                                   Respectfully submitted,

                                                   Electronically Filed 1/4/2016

                                                   s/ Meghan A.VanLeuwen
                                                   Meghan A. VanLeuwen

                                                   Farmworker & Landscaper Advocacy Project
                                                    33 North LaSalle Street Suite 900
                                                    Chicago, Illinois 60602
                                                    (312) 784-3541
    Case: 1:15-cv-05793 Document #: 13-1 Filed: 01/06/16 Page 2 of 2 PageID #:46




                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on January 6, 2016, she caused to be
served upon the attorneys of record above, Plaintiff’s Notice of Filing by electronic service
through the Court’s electronic filing system (ECF), or as otherwise directed.


                                                     Electronically Served

                                                     s/ Meghan A. VanLeuwen
                                                     ---------------------------------------
                                                     Meghan A. VanLeuwen



                                                     FARMWORKER & LANDSCAPER ADVOCACY
                                                     PROJECT
                                                     33 North LaSalle Street Suite 900
                                                     Chicago, IL, 60602
                                                     (312) 784-3541
